
In re Disciplinary Counsel; — Other; Applying for Petition for Interim Suspension.
ORDER
Considering the Joint Petition for Interim Suspension filed by respondent, Michel P. Wilty, and the Office of Disciplinary Counsel,
IT IS ORDERED that Michel P. Wilty be and he hereby is suspended from the practice of law on an interim basis pursuant to Supreme Court Rule XIX, § 19.3, pending further orders of this court. Pursuant to Supreme Court Rule XIX, *565§ 26(E), this order is effective immediately-
IT IS FURTHER ORDERED that necessary disciplinary proceedings be instituted in accordance with Supreme Court Rule XIX, §§ 11 and 19.
/s/ Chet D. Traylor Justice, Supreme Court of Louisiana
